                        CASE 0:18-cr-00026-PJS-SER Document 40 Filed 04/18/18 Page 1 of 1
✎AO 187 (Rev. 7/87) Exhibit and Witness List


                                                  UNITED STATES DISTRICT COURT
                                                                    DISTRICT OF MINNESOTA


                            United States
                                                                                                                  EXHIBIT & WITNESS LIST
                                 v.
                         Tnuza Jamal Hassan                                                                       Case No. 18cr26 (PJS/SER)

PRESIDING JUDGE                                                                       PLAINTIFF’S ATTORNEYS                  DEFENDANTS’ ATTORNEYS




                                                                                              Andrew R. Winter                         Joshua P. Johnson
                  Magistrate Judge Steven E. Rau
                                                                                             Charles J. Kovats, Jr.                     Robert D. Sicoli



HEARING DATE(S)                                                                       COURT REPORTER                         COURTROOM DEPUTY
              April 17, 2018                                                               Lori Simpson                              Ellen M. Ahrens
PL
           DEF.            DATE
 F.
           NO.            OFFERED
                                               MARKED            ADMITTED                              DESCRIPTION OF EXHIBITS AND WITNESSES
NO.

 1                       4/17/2018                  X                   X            HTC cell phone search warrant

 2                       4/17/2018                  X                   X            Apple laptop search warrant

                                                                                     BLU cell phone search warrant
 3                       4/17/2018                  X                   X

                                                                                     YouTube search warrant
 4                       4/17/2018                  X                   X

                                                                                     HTC cell phone search warrant
 5                       4/17/2018                  X                   X

                                                                                     St. Catherine’s search warrant
 6                       4/17/2018                  X                   X

 7                                                                                   Google search warrant
                         4/17/2018                  X                   X

                                                                                     Mailed package search warrant
 8                       4/17/2018                  X                   X

                                                                                     Gmail search warrant
 9                       4/17/2018                  X                   X




* Include a notation as to the location of any exhibit not held with the case file or not available because of size
